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David C. Silver, Esq. (pro hac vice forthcoming)
Jason S. Miller, Esq. (pro hac vice forthcoming)
SILVER MILLER
4450 NW 126th Avenue - Suite 101
Coral Springs, Florida 33065
Telephone:     (954) 516-6000
E-mail: DSilver@SilverMillerLaw.com
E-mail: JMiller@SilverMillerLaw.com

Matthew Haicken, Esq.
HAICKEN LAW, PLLC
11 Broadway - Suite 615
New York, New York 10004
Telephone:    (212) LAW-TEAM [(212) 529-8326]
E-mail: Matthew@HaickenLaw.com
Counsel for Plaintiff Alexander Shin

                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


 ALEXANDER SHIN, an individual,
        Plaintiff,                                          Case No. _______________

 v.                                                              COMPLAINT

 AVA LABS, INC., a Delaware corporation,                          Civil Action

        Defendant.                                          JURY TRIAL DEMANDED


       Plaintiff ALEXANDER SHIN, an individual (hereafter referred to as “Plaintiff”), by and

through undersigned counsel, hereby sues Defendant AVA LABS, INC., a Delaware corporation

(hereinafter referred to as “Defendant” or “AVA LABS”); for monetary damages and for equitable

relief. As grounds therefor, Plaintiff alleges the following:

                                  NATURE OF THE ACTION

       1.       This action arises from an Advisor Agreement between Plaintiff and AVA LABS

that AVA LABS has unjustifiably breached.
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        2.       Despite agreeing to provide Plaintiff both present and future compensation for his

professional services under express written contractual terms, AVA LABS did neither.

        3.       Therefore, this is an action to enforce the terms of the parties’ written agreements;

or, in the alternative, to enforce Plaintiff’s legal rights for proper compensation for the services he

provided to AVA LABS.

        4.       As a result of AVA LABS’s contractual breaches, Plaintiff has suffered economic

harm for which he seeks compensatory and equitable relief.

                            PARTIES, JURISDICTION, AND VENUE

                                            THE PARTIES

        5.       Plaintiff ALEXANDER SHIN is an individual domiciled in Tukwila, Washington

and is sui juris.

        6.       Defendant AVA LABS, INC. (“AVA LABS”) is a Delaware corporation with its

principal place of business in New York, New York. At all times material hereto, AVA LABS

operated an office in the City, County, and State of New York.

        7.       Upon information and belief, AVA LABS operates a wholly-owned subsidiary

named Antarctica, Inc. (“Antarctica”), which operates from the same principal place of business

in New York, NY as AVA LABS.

        8.       AVA LABS, as the one-hundred percent (100%) owner of Antarctica, is essentially

the alter ego of that subsidiary; and the entities commonly operate under the shared tradename

“AVA LABS.”         Upon information and belief, the entities are all dominated by the same

individuals, use the same corporate decision-makers, the same resources, and the same business

connections. Thus, they are essentially one-and-the-same business, regardless of the particular

name under which each company’s operations are conducted.




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        9.       Because they share a unity of interest and resources, AVA LABS and Antarctica

are collectively referred to herein and in their own internal corporate documents as “the Company.”

        10.      In addition to AVA LABS, there are likely other parties who may be liable to

Plaintiff, but about whom Plaintiff currently lacks specific facts to permit him to name these

persons or entities as party defendants. By not naming such persons or entities at this time, Plaintiff

is not waiving his right to amend this pleading to add such parties, should the facts warrant adding

them.

                                     JURISDICTION AND VENUE

        11.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332 because the amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00),

exclusive of interest, costs and attorneys’ fees, and is an action between citizens of different states.

        12.      This Court has personal jurisdiction over AVA LABS because AVA LABS: (a)

operates, conducts, engages in and/or does business within this jurisdiction; and/or (b) committed

contractual or tortious breaches in this jurisdiction.

        13.      Venue of this action is proper in this Court pursuant to 28 U.S.C. § 1391 because

the causes of action accrued in this jurisdiction.

                    FACTS APPLICABLE TO ALL CAUSES OF ACTION

                                       AVA LABS’S BUSINESS

        14.      AVA LABS exists, in large part, to support the public blockchain it created and

named “Avalanche.”

        15.      According to its website: “The Avalanche public blockchain is an internet-based

distributed ledger and computing platform composed of many different and evolving components

contributed by a wide variety of participants. Avalanche continues to grow and change through

the efforts of its community.”


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       16.    AVA LABS’s website goes on to explain its business purpose thusly:

          Ava Labs, Inc. and its subsidiaries are active members of that community. We
          contribute to the continuing development, implementation, and maintenance of
          Avalanche and the Avalanche community by, among other things:
              •    developing and implementing different types of software, such as
                   smart contracts and
              •    dApps, subnets, APIs, utilities and upgrades, and helping others do
                   the same
              •    staking tokens and operating one or more nodes/validators
              •    creating written, video, and other content on our website, various
                   social media platforms and elsewhere
              •    generally being an overall resource to the community in a variety of
                   other ways

       17.    AVA LABS’s website further explains the manner in which its representatives and

associates are sometimes compensated for their efforts with AVAX tokens (the native token of the

Avalanche blockchain) and other cryptocurrency assets:

          We also provide support to the Avalanche Foundation in its various activities,
          for which we receive compensation. We, as well as our employees and other
          people and organizations associated with us, may receive, purchase, and sell
          various AVAX tokens and other cryptoassets (whether fungible or nonfungible
          tokens) created on or associated with the Avalanche public blockchain and the
          smart contracts and dApps that run on Avalanche.

       18.    Plaintiff was among the “employees and other people” who served AVA LABS’s

interests by providing his professional services to AVA LABS.

                  PLAINTIFF PROVIDED PROFESSIONAL SERVICES TO AVA LABS

       19.    On or about April 23, 2020, AVA LABS hired Plaintiff to, inter alia:

              (a) Attend quarterly strategy meetings,

              (b) Provide reasonable, timely responses to email requests from the
                  Company and others associated with the Company, and

              (c) Make introductions to, and assist in the acquisition of, marquee
                  customers, strategic partners, and key industry contacts.




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Attached hereto as Exhibit “A” is a true and correct copy of the Advisor Agreement into which

the parties entered memorializing the material terms of their relationship.

       20.     Under his employment arrangement with AVA LABS, Plaintiff was to work at

AVA LABS’s wholly-owned subsidiary Antarctic, and his compensation, in pertinent part, was

expressed thusly:

             Advisor shall not be entitled to receive cash compensation; however, Advisor
          shall be entitled to receive the equity compensation indicated on the signature
          page hereto at an exercise or purchase price equal to the fair market value of
          the Company’s Common Stock, which will be documented in the applicable
          Stock Option Agreement or Restricted Stock Purchase Agreement to be entered
          into by Advisor and the Company as contemplated on the signature page hereto.

                                     *           *              *




       21.     Plaintiff duly performed all obligations required of him under his employment with

AVA LABS, including providing timely responses to e-mail requests from the Company and

introducing the Company to key industry contacts.



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    THE PARTIES REPLACED THEIR WRITTEN AGREEMENT WITH ANOTHER AGREEMENT

       22.     At no time during his employment with AVA LABS was Plaintiff given a negative

performance review.

       23.     In or about September 2020, however, Plaintiff’s employment with AVA LABS

was involuntarily terminated.

       24.     According to a September 23, 2020 letter sent to Plaintiff from Kevin Sekniqi

(AVA LABS’s co-founder and Chief Operating Officer) on behalf of AVA LABS:




       25.     AVA LABS expressed no disappointment with Plaintiff’s services. Quite the

contrary, AVA LABS expressed to Plaintiff its thanks for Plaintiff’s services and its desire to

continue working with Plaintiff under a “new deliverables-based grants structure.”

       26.     Despite terminating the Advisor Agreement, the parties mutually agreed that

Plaintiff was still owed compensation for his service to AVA LABS.

       27.     In fact, Plaintiff and AVA LABS corresponded with one another for several months

in an effort to memorialize the terms of a differentiated advisory program that would benefit both

Plaintiff and AVA LABS.




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       28.     Throughout their communications, AVA LABS continued to assure Plaintiff that

he was indeed due his compensation and that regardless of the ultimate “legal language,” Plaintiff

would be compensated in accordance with the communications between the parties.

       29.     For example, in February 2021, AVA LABS represented the following to Plaintiff:




       30.     As an interim measure, the parties jointly executed a one-page letter on or about

March 3, 2021 in which, inter alia, Plaintiff was granted a one-time right to purchase 37,500

AVAX Mainnet tokens subject to the terms and conditions of the Company’s 2019 Token

Incentive Plan and subject to a restricted token purchase agreement AVA LABS had to

subsequently provide to Plaintiff for his review and execution.

       31.     AVA LABS did not provide, and Plaintiff therefore never reviewed or executed, a

subsequent restricted token purchase agreement.




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       32.      Ultimately, Plaintiff and AVA LABS memorialized their compensation agreement

in a master document titled “Option Grant ES-1” (the “Equity Award”) that incorporated the terms

of the following additional documents comprising the Antarctica, Inc. 2020 Equity Incentive Plan

(the “Plan Documents” or the “Documents”):

             (a) Antarctica, Inc. 2020 Equity Incentive Plan - Plan Document

             (b) Antarctica, Inc. 2020 Equity Incentive Plan - Stock Option Award Agreement

             (c) Antarctica, Inc. 2020 Equity Incentive Plan - Notice of Exercise

             (d) Antarctica, Inc. 2020 Equity Incentive Plan - Notice of [Share] Redemption

Attached hereto as Composite Exhibit “B” is a true and correct copy of the Equity Award and

the Plan Documents.

       33.      Although the Plan Document identified the asset for which Plaintiff could opt to

exercise his purchase right as a “Share” of Class A Common Stock of the Company, the

Documents also provided a simple mechanism by which Plaintiff could redeem each Share for an

AVAX Token instead on a one-to-one basis.

       34.      Just as in the original Advisor Agreement, the parties agreed in the Equity Award

and the Plan Documents that Plaintiff has the right to purchase/redeem 360,000 AVAX Tokens;

and the price at which the parties agreed Plaintiff was entitled to exercise his purchase option is

$0.325 (USD) per Share/Token:




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       35.    Furthermore, to uphold the spirit of the parties’ original agreement, the parties

agreed to backdate to September 2020 the “grant date” of Plaintiff’s entitlement to exercise his

purchase options:




       36.    As clearly stated in the Equity Award, the Equity Award and the Plan Documents

“set forth the entire understanding between [Plaintiff] and the Company regarding the Equity

Award and supersede all prior agreements, promises and/or representations on that subject”:




       37.    Within a few months following the parties’ agreement to the terms included within

the Equity Award and the Plan Documents, Plaintiff began exercising his purchase options through

an electronic portal known as Carta.

       38.    As Plaintiff exercised one option after another, AVA LABS continued to authorize

Plaintiff’s exercise of his Company Share options as that right was given to him under the Equity

Award and the Plan Documents.



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         39.     Each time Plaintiff exercised his purchase options, he was required to reaffirm the

parties’ agreement that his “option exercise is subject to all of the terms and conditions as set forth

in the Equity Incentive Plan, Option Agreement, and the Exercise Agreement” -- including the

provision that those documents supersede all prior agreements, promises and/or representations on

that subject.

         40.     As of the date of this filing, Plaintiff paid for and thereby exercised -- and AVA

LABS approved1 -- several of his then-available Company Share options (135,000 Shares already

exercised, with another 7,500 Shares pending approval), which are summarized thusly:




1
    Christopher Lavery was, at all times material hereto, AVA LABS’s Chief Financial Officer.



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       41.    The above-listed Shares continue to increase by 7,500 Company Shares per month

through and including April 2024, when all 360,000 Company Shares owed to Plaintiff should be

made available to him.

                AVA LABS’S BREACH OF AGREEMENT BETWEEN THE PARTIES

       42.    Notwithstanding the written agreement(s) between the parties, Plaintiff’s exercise

of the rights granted to him under that agreement(s), and AVA LABS’s approval of Plaintiff’s

exercise of his purchase options, AVA LABS has withheld from Plaintiff the compensation to

which they had agreed.

       43.    Plaintiff has already exercised -- and AVA LABS has approved -- his option to

purchase 135,000 Company Shares.

       44.    Plaintiff has expressed to AVA LABS his desire to redeem all ripe Company Shares

for an equivalent amount of AVAX Tokens instead.

       45.    AVA LABS has expressed to Plaintiff its unwillingness to allow Plaintiff to redeem

for an equivalent amount of AVAX Tokens all ripe Company Shares for which Plaintiff has paid.

       46.    As of the date of this filing, the market value of 135,000 AVAX Tokens is

approximately $12,700,000.00 USD.

       47.    Plaintiff has also exercised -- pending approval by AVA LABS -- an additional

7,500 Company Shares. As of the date of this filing, the market value of 7,500 AVAX Tokens is

approximately $705,000.00 USD.

       48.    As each new batch of 7,500 Company Shares becomes available for Plaintiff to

exercise his purchase option -- and AVA LABS denies Plaintiff his right to receive those shares

and redeem the Tokens for which he pays -- Plaintiff’s damages will continue to increase.




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       49.     Prior to filing this lawsuit, Plaintiff (through undersigned counsel) demanded that

AVA LABS honor its contractual obligations and provide Plaintiff the compensation he is due.

AVA LABS refused to comply.

       50.     Plaintiff duly performed all of his duties and obligations, and any conditions

precedent to Plaintiff bringing this action have occurred, have been performed, or else have been

excused or waived.

       51.     To enforce his rights, Plaintiff has retained undersigned counsel and is obligated to

pay counsel a reasonable fee for its services.

                           COUNT I – BREACH OF CONTRACT
                         (the Equity Award and the Plan Documents)

       Plaintiff re-alleges, and adopts by reference herein, Paragraphs 1 - 51 above, and further

alleges:

       52.     The Equity Award and the Plan Documents constitute a contract between Plaintiff

and AVA LABS.

       53.     AVA LABS has breached the express terms of the Equity Award and the Plan

Documents by, inter alia, failing to pay Plaintiff the sum due thereunder.

       54.     As a direct and proximate result of AVA LABS’s breach of the Equity Award and

the Plan Documents, Plaintiff has suffered damages in an amount to be demonstrated at trial.

                              COUNT II – QUANTUM MERUIT

       Plaintiff re-alleges, and adopts by reference herein, Paragraphs 1 - 51 above, and further

alleges:

       55.     At the request of AVA LABS, and during his tenure of professional service with

AVA LABS, Plaintiff provided AVA LABS with his professional services in good faith.

       56.     AVA LABS freely accepted and retained Plaintiff’s services.




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       57.     Plaintiff reasonably expected to receive a fair measure of compensation from AVA

LABS for those services.

       58.     The reasonable value of those services far exceeds the limited compensation

Plaintiff received from AVA LABS.

       59.     Although Plaintiff has demanded payment from AVA LABS, AVA LABS has

failed and refused to pay Plaintiff.

       60.     As a direct and proximate result of AVA LABS’s acts and omissions, Plaintiff has

suffered damages in a sum to be proven at trial.

                            COUNT III – UNJUST ENRICHMENT

       Plaintiff re-alleges, and adopts by reference herein, Paragraphs 1 - 51 above, and further

alleges:

       61.     At the request of AVA LABS, and during his tenure of professional service with

AVA LABS, Plaintiff provided AVA LABS with his professional services in good faith.

       62.     AVA LABS freely accepted and retained Plaintiff’s services.

       63.     AVA LABS has reaped the benefits of Plaintiff’s professional services.

       64.     In addition, Plaintiff exercised several purchase options by paying AVA LABS the

agreed-upon sums due to effectuate those options; however, AVA LABS has withheld from

Plaintiff the Company Shares and AVAX Tokens for which Plaintiff paid.

       65.     It would be unconscionable and against the fundamental principles of justice,

equity, and good conscience for AVA LABS to retain the substantial monetary benefits it has

received from Plaintiff’s services and from the cash payments Plaintiff has remitted without fairly

compensating Plaintiff.

       66.     To remedy AVA LABS’s unjust enrichment, the Court should order AVA LABS

to fairly compensate Plaintiff for the windfall of profits Plaintiff produced for AVA LABS.


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        67.     As a direct and proximate result of AVA LABS’s acts and omissions, Plaintiff has

suffered damages in a sum to be proven at trial.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff ALEXANDER SHIN, an individual, prays for entry of an award

providing relief as follows:

                (a) Entry of an award of monetary, actual damages and/or restitution, as
                    appropriate;

                (b) An Order requiring AVA LABS to specifically perform its written
                    contractual obligations, including delivering to Plaintiff the Company
                    Shares and AVAX Tokens Plaintiff which AVA LABS has withheld
                    from him;

                (c) Prejudgment and post-judgment interest to the extent allowed by the
                    law;

                (d) Awarding all costs, expenses, experts’ fees, and attorneys’ fees incurred
                    in prosecuting this action; and

                (e) Such other and further relief as the Court may deem just and proper.

                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands trial by jury

in this action of all issues so triable.

                                    RESERVATION OF RIGHTS

        Plaintiff reserves his right to further amend this Complaint, upon completion of his

investigation and discovery, to assert any additional claims for relief against AVA LABS or other

parties as may be warranted under the circumstances and as allowed by law.




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                                            Respectfully submitted,

                                            SILVER MILLER

                                            By: /s/ Matthew Haicken
                                                    DAVID C. SILVER (pro hac vice forthcoming)
                                                    E-mail: DSilver@SilverMillerLaw.com
                                                    JASON S. MILLER (pro hac vice forthcoming)
                                                    E-mail: JMiller@SilverMillerLaw.com
                                                    4450 NW 126th Avenue - Suite 101
                                                    Coral Springs, Florida 33065
                                                    Telephone:     (954) 516-6000
                                            - and -
                                            Matthew Haicken, Esq.
                                            HAICKEN LAW, PLLC
                                            11 Broadway - Suite 615
                                            New York, New York 10004
                                            Telephone: (212) 529-8326
                                            E-mail: Matthew@HaickenLaw.com
                                            Counsel for Plaintiff Alexander Shin


Dated: April 5, 2022




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